             Case 1:17-cv-01373-TNM Document 51 Filed 08/29/19 Page 1 of 3



 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


 BENJAMIN NORTH,

                         Plaintiff,

         v.                                                    Civil Action No. 17-1373 (TNM)

 THE CATHOLIC UNIVERSITY OF AMERICA,


                         Defendant



                   JOINT MOTION TO VACATE BRIEFING SCHEDULE

        The parties, through their undersigned counsel, move this Honorable Court to vacate the

briefing schedule in this matter. In support, the parties would state as follows:

        1.       On July 24, 2019 the parties engaged in a mediation. No settlement was reached on

that date.

        2.       On July 31, 2019 the parties filed a joint status report indicating that no settlement

had been reached and proposed a briefing schedule for summary judgment.

        3.       On August 5, 2019, this Court issued a briefing schedule. While preparing to brief

issues related to summary judgment, the parties continued to negotiate in good faith.

        4.       The parties have now reached a settlement in principle. The major terms have been

agreed upon. All that remains to be done is to complete the more finite details of the agreement

and the specific language therein. Thus, the parties respectfully ask the Court to vacate the briefing

schedule to allow them to complete the settlement in this matter rather than expend resources on

motions and briefing that the parties sincerely believe will not be needed. Should the Court grant




                                                   1
         Case 1:17-cv-01373-TNM Document 51 Filed 08/29/19 Page 2 of 3



this Motion, the parties will submit a joint status report on or before September 27, 2019, if no

final settlement has been agreed to before that date.

       WHEREFORE, the parties respectfully request that the Motion be granted and that the

Court vacate the briefing schedule in this matter.



Date: August 29, 2019                                   Respectfully submitted,
                                                        /s/ Jesse Winograd
                                                        Jesse Winograd DC Bar # 986610
                                                        Gowen Silva & Winograd PLLC
                                                        513 Capitol Court N.E., Suite 100
                                                        Washington, DC 20002
                                                        Phone: 202-380-9355
                                                        JWinograd@gowensilva.com
                                                        Counsel for Plaintiff

                                                        /s/ Aaron J. Kornblith
                                                        William D. Nussbaum DC Bar # 941815
                                                        Aaron J. Kornblith DC Bar # 1024077
                                                        Saul Ewing Arnstein & Lehr LLP
                                                        1919 Pennsylvania Avenue NW Suite 550
                                                        Washington, D.C. 20006
                                                        Tel. (202) 295-6652
                                                        Fax (202) 295-6715
                                                        wnussbaum@saul.com
                                                        akornblith@saul.com
                                                        Counsel for Defendant




                                                 2
        Case 1:17-cv-01373-TNM Document 51 Filed 08/29/19 Page 3 of 3



                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 29th day of August, 2019, a copy of the foregoing
document was served via the Court’s online filing system to:

      William D. Nussbaum
      Aaron J. Kornblith
      Saul Ewing LLP
      1919 Pennsylvania Avenue NW Suite 550
      Washington, D.C. 20006
      Tel. (202) 295-6652
      Fax (202) 295-6715
      wnussbaum@saul.com
      akornblith@saul.com
      Counsel for Defendant


                                                /s/ Jesse Winograd
                                                Jesse Winograd, Esq. DC Bar # 986610
